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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Harrisonburg Division

UNITED STATES OF AMERICA,                     )
                                              )
                                              )       Criminal No. 5:15-cr-00003
v.                                            )
                                              )       REPORT & RECOMMENDATION
ANDRE DONNELL KEYES,                          )
    Defendant.                                )       By:    Joel C. Hoppe
                                              )              United States Magistrate Judge

       This case was referred to the undersigned magistrate judge for the purpose of conducting

a felony guilty plea hearing. This report and recommendation is submitted to the presiding

district judge pursuant to 28 U.S.C. § 636(b)(3). The defendant waived the right to plead before a

United States District Judge and consented to proceed before the undersigned magistrate judge.

       On May 26, 2015, the defendant appeared with counsel before the magistrate judge, who

personally addressed the defendant in open court and admonished the defendant pursuant to Rule

11(b)(1)(A)–(O) of the Federal Rules of Criminal Procedure. Discussing the district judge’s role

of determining a sentence, the Court explained to the defendant that the sentencing range under

the Sentencing Guidelines, which are advisory, not mandatory, would not be determined until a

presentence report is written and a sentencing hearing held, that the district judge had the

authority to impose a sentence more or less severe than called for in the guidelines, and that the

sentence the defendant receives may be different than any estimate given by his attorney. The

Court also admonished the defendant that if the district judge does not accept a recommendation

set forth in the plea agreement, the defendant will still be bound by his plea and will have no

right to withdraw it. The defendant stated that he understood the Court's admonishments.

       The attorney for the government stated the essential terms of the plea agreement, which

has been filed with the Court, and the defendant and his counsel agreed that those in fact were

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the terms of the agreement. The defendant further stated that he had read the plea agreement and

understood it. Accordingly, the undersigned finds that the defendant understands the charge to

which he is pleading guilty and that his plea was knowingly made. Fed. R. Crim. P. 11(b)(1).

       The Court also addressed the defendant personally as to his competency to plead and the

voluntariness of his plea, specifically whether it resulted from force, threats, or promises other

than promises in a plea agreement. Fed. R. Crim. P. 11(b)(2). Based on this discussion, the

undersigned finds the defendant to be sufficiently competent to enter a plea, that he desired to

plead guilty, and that his plea was voluntary.

       The government presented a statement of facts, which has been filed with the Court,

regarding the offense to which the defendant pleaded guilty. The defendant testified that he read

and discussed the statement of facts with his attorney, agreed that the statement of facts was

accurate, and did not contest those facts. Having reviewed the statement of facts, I find that a

sufficient factual basis exists for the defendant’s guilty plea to the charge. Fed. R. Crim. P.

11(b)(3).

       The defendant pleaded guilty to the offense of conspiring to distribute and to possess with

intent to distribute more than 100 grams of heroin in violation of 21 U.S.C. §§ 841(a)(1),

841(b)(1)(B), and 846, the lesser included offense of conspiring to distribute and to possess with

intent to distribute more than 1,000 grams of heroin in violation of 21 U.S.C. §§ 841(a)(1),

841(b)(1)(B), and 846 as alleged in Count One of the Indictment.

       The magistrate judge finds the following:

       1. The defendant’s guilty plea was taken by the undersigned subject to the

acceptance of the plea and sentencing by the assigned district judge and after the defendant

consulted with an attorney and executed oral and written waivers;



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       2. The defendant fully understands the nature of the charges and relevant penalties;

       3. The defendant fully understands the terms of the plea agreement;

       4. The defendant understands the defendant's constitutional and statutory rights and

wishes to waive those rights;

       5. The defendant's guilty plea was freely and voluntarily tendered;

       6. The defendant is sufficiently competent to enter a guilty plea; and

       7. An adequate factual basis exists to support this plea.

                                    RECOMMENDATION

       The magistrate judge RECOMMENDS that the District Judge accept the plea of guilty

and, after reviewing the pre-sentence investigation report, accept the plea agreement, and enter a

final judgment finding the defendant guilty.

                  RELEASE OR DETENTION PENDING SENTENCING

       After entry of the plea, the undersigned conducted proceedings to determine the

defendant’s custody status pursuant to the standard set forth in 18 U.S.C. § 3143(a). Based on the

following, the undersigned finds that clear and convincing evidence does not exist that the

defendant is not likely to flee or pose a danger to the community if released:

       The defendant has been held in pretrial detention and did not request release.

                                    NOTICE TO PARTIES

       Notice is hereby given to the parties of the provisions of 28 U.S.C. § 636(b)(1)(C):

               Within fourteen days after being served with a copy [of this Report and
       Recommendation], any party may serve and file written objections to such
       proposed findings and recommendations as provided by rules of court. A judge of
       the court shall make a de novo determination of those portions of the report or
       specified proposed findings or recommendations to which objection is made. A
       judge of the court may accept, reject, or modify, in whole or in part, the findings
       or recommendations made by the magistrate judge. The judge may also receive

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       further evidence or recommit the matter to the magistrate judge with instructions.

       Failure to file timely written objections to these proposed findings and recommendations

within 14 days could waive appellate review. At the conclusion of the 14 day period, the Clerk

is directed to transmit the record in this matter to the Honorable Michael F. Urbanski, United

States District Judge.

       The Clerk shall send certified copies of this Report and Recommendation to all counsel

of record.

                                     ENTER: May 26, 2015




                                     Joel C. Hoppe
                                     United States Magistrate Judge




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